               Case 1:18-cv-00719-CCR Document 97 Filed 06/04/21 Page 1 of 4


                                          C ITY OF B UFFALO
                                                D EPARTMENT OF L AW


B YRON W. B ROWN                                                                                          TIMOTHY A BALL
     M AYOR                                                                                            CORPORATION COUNSEL




                                                                             June 4, 2021
    The Honorable Christina Reiss
    United States District Court, District of Vermont
    P.O. Box 446
    Burlington, VT 05402-0446

            Re:       Black Love Resists in the Rust, et al. v. the City of Buffalo, et al.
                      18-cv-719

    Dear Judge Reiss:

            Thank you for the opportunity to submit this letter regarding certain documents
    and proposed redactions, issues we did not have the opportunity to discuss at our last
    conference due to time limitations, which we hope can be resolved in an efficient and
    equitable manner with the Court’s assistance. Specifically, this letter will address the
    monthly “CompStat” and “GIVE” reports which Plaintiffs’ claim are relevant and which
    Defendants submit contain sensitive personal information that, upon information and
    belief, have been provided to the Court through exemplars for review and consideration.

           To begin, while Defendants have already produced examples of these documents
    and proposed redactions allowing for additional production, we dispute that Plaintiffs
    have satisfied their burden of showing relevance and proportionality for any of these
    individual reports, let alone all of them. The Plaintiffs do not claim that these reports have
    information that relates to any incident identified in the Amended Compliant and the
    periodic reports are not specific to the “strike force”, “housing unit”, “traffic stops”,
    “checkpoints”, or any of the particularized allegations in the Amended Complaint. We
    therefore submit, at the least, this should be considered in any proportionality analysis.

           As to the specific individuals and entries addressed by the proposed redactions,
    Plaintiffs have not established how this information is relevant or discoverable in this
    proceeding. Upon information and belief, there are no entries relating to the named
    Plaintiffs and the specifically identified arrests, crimes, and other information, is not
    organized or compiled in a manner that would imbue any relevance or discoverability in
    this proceeding. The individuals are both victim and accused, identified in varying
    contexts, and the entries do not contain complete histories, narratives, or the result of any
    investigation or charges, and there is no apparent relevance to this lawsuit.

      65 NIAGARA SQUARE / 1101 CITY HALL / BUFFALO, NY 14202-4770 / (716) 851-4343 / FAX: (716) 851-4105 / www.city-buffalo.com
         Case 1:18-cv-00719-CCR Document 97 Filed 06/04/21 Page 2 of 4




        Moreover, Plaintiffs have already received an extensive amount of materials from
Defendants on similar if not identical issues, to date 323,585 pages of documents collected
at a substantial cost, and we submit that Defendants should be boundlessly compelled to
release sensitive, confidential, records that have no direct relevance to the claims, as there
is virtually no limit to discovery if Plaintiff’s arguments are accepted. With this said, and
while the Defendants dispute there is any grounds for relevancy, in a good faith effort to
resolve a discovery dispute, we have produced exemplars and proposed certain
redactions on documents which we would be willing to produce.

       As demonstrated by the examples before the Court, these reports generally contain
two types of entries; statistics and maps that identify categories of data, and separate
entries which contain particular information pertaining individual crimes, victims, and
suspects. The Defendants have not proposed redactions on the statistics, and only minor
redactions on the maps which reference particular individual’s personal information.
Instead, the proposed redactions relate largely if not entirely limited to personal sensitive
information of particular individuals, names, dates of birth, phone numbers, last known
addresses, social security numbers, etc., which we do not believe should be disclosed.

       Again, upon information and belief, none of the individuals identified are named
Plaintiffs. The information proposed to be redacted is clearly sensitive, obviously raising
privacy, security, and safety concerns, for individuals who are strangers to this lawsuit
and for which there is no discernable relevancy to warrant such an invasion.

       This type of information is often redacted for actual parties, where there is an
actual finding of relevancy, and here these individuals have no connection with this
lawsuit or relevancy. See, e.g., Cody v. New York State Div. of State Police, CV 07-3735
LDW ETB, 2008 WL 3252081, at *4 (EDNY July 31, 2008)(“[w]hile information contained
within the requested files is relevant, information of a personal nature that is not
necessary to the litigation may also be present Therefore, any information of a personal
nature, such as social security numbers, personal telephone numbers, and home
addresses should be permitted through redaction. Furthermore, these files must remain
confidential and used only for purposes of this litigation, pursuant to the terms of the
Protective Order, annexed hereto, which the Court issues sua sponte”).

        These grounds are perhaps most compelling in the context of “mugshots”, which
can affect one’s personal life, job prospects, educational opportunities, housing options,
and career advancement. Prall v. New York City Dept. of Corrections, 40 Misc 3d 940
(Sup. Ct., 2013), affd, Matter of , 129 A.D.3d 734 (2nd Dept., 2015)(decision to redact dates
of birth, home addresses, and photographs of inmates in its response to FOIL request for
arrest records was proper, pursuant to exemptions governing invasion of privacy,
endangering an individual’s life or safety, and maintenance of records by agency; if
released, dates of birth and home addresses could easily be used to facilitate identity
theft; photographs, which were not generally otherwise available, could increase gang
violence targeted at inmates and their family members”).
         Case 1:18-cv-00719-CCR Document 97 Filed 06/04/21 Page 3 of 4




       Further, and even more compellingly, the context and type of information
contained in these records regarding the victims, investigations, “gang affiliation”,
activity, and arrests, establishes that redaction is warranted on the grounds that the
information may be prohibited from disclosure under the New York Criminal Procedure
Law. See, New York Criminal Procedure Laws §§ 160.50(1)(c), (3)(i), § 160.55 and §
1.20(18); Wilson v. City of New York, 240 A.D.2d 266, 659 N.Y.S. 2d 8 (1st Dept. 1997);
Matter of Katherine B., et. al. v. Cataldo, 5 N.Y.3d 196 (2005). Under these laws, in the
event that these records are sealed for one of a number of reasons, the Defendants would
be legally prohibited from producing these records.

       Indeed, the whole purpose of “the sealing requirement is to ensure confidentiality
for people who are arrested and to thereby avoid attaching any public stigma to
them.” Amy Haus, et. al. v. City of New York, et. al., 2008 WL 623344 (SDNY
2005)(“federal courts should, in the spirit of comity, take into consideration the policy
interests embodied in state privileges and related state laws limiting disclosure of
confidential materials, at least to the extent that they can be reconciled with federal policy
interests and the discovery needs of federal civil rights litigants”); Harper v. Angiolillo,
89 N.Y.2d 761 (1997)); Fountain v. City of New York, 03 CIV 7790 RWS, 2004 WL 1474695,
at *2 (SDNY June 30, 2004)(“[w]hile there is a possibility that some of the non-
party arrestees may have relevant information, plaintiffs have not yet shown that their
need for the information outweighs “the administrative burden on the City, and (more
importantly)[the] burden on the privacy interest of the...non-parties”). Accordingly, the
entire aim of this sealing statute would be thwarted if the Plaintiffs were permitted to
access these individuals’ sealed cases without consent or a Court Order allowing such an
invasion, and redaction is therefore warranted.

        Additionally, and in the alternative, we would request that any information be
designated “for attorneys eyes” with whatever redactions deemed appropriate. See, e.g.,
Floyd v. City of New York, 739 F Supp. 2d 376, 386 (SDNY 2010)(“restricting disclosure
to only a small portion of the IAB files, redacting irrelevant and truly sensitive
information, and imposing an attorneys’ eyes only protective order is a sensible balance
between plaintiffs’ compelling need for the information and the low sensitivity of the
materials generally”); Fowler-Washington v. City of New York, 19-CV-6590(KAM)(JO),
2020 WL 5893817, at *4-5 (EDNY Oct. 5, 2020), reconsideration denied, 19-CV-
6590(KAM)(RER), 2020 WL 7237683 (EDNY Dec. 9, 2020)(“Defendants
should redact personal identifying information only if it falls into one of the following
categories: social security numbers, dates of birth, home addresses, and the names of
family members. In addition, the redacted records that are produced shall continue to be
restricted to attorney’s eyes only. If Plaintiff comes to believe that a particular piece of
personal identifying information that was redacted would be relevant to his claims,
Plaintiff may file a motion, directed to the magistrate judge, to compel production of that
specific piece of information”); Floyd v. City of New York, 959 F Supp. 2d 540, 592 (SDNY
2013)(referencing “[e]xcerpts from heavily redacted minutes of Compstat meetings…”)
        Case 1:18-cv-00719-CCR Document 97 Filed 06/04/21 Page 4 of 4




       Finally, we should note that it is possible that separately or within individual
entries there may be information which could be considered privileged under the “law
enforcement privilege”, but to date we have not come across any such information and
therefore raise the issue in precaution, and reserve all rights in that regard.

      Thank you again for your continued courtesies in this matter.


                                              Respectfully yours,

                                              TIMOTHY A. BALL, ESQ.
                                              Corporation Counsel


                                              /s/ Robert E. Quinn
                                              By: Robert E. Quinn
                                              Assistant Corporation Counsel


CC:   NCLEJ
      Attn.: Claudia Wilner, Esq.
      275 Seventh Avenue, Suite 1506
      New York, NY 10001
